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 3   Assistant United States Attorney
     District of Nevada
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 5   (702) 388-6336
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 6   Attorneys for the United States

 7                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 8

 9
     UNITED STATES OF AMERICA,                      Case No. 2:07-cr-00136-RCJ-PAL
10
                   Plaintiff,
11                                                  STIPULATION TO CONTINUE
                   v.                               REVOCATION OF SUPERVISED
12                                                  RELEASE HEARING
     DARIAN BENEVENTO,
13
                   Defendant.
14

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16         IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

17   Trutanich, United States Attorney, and Supriya Prasad, Assistant United States Attorney,

18   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,

19   and Rebecca Levy, Assistant Federal Public Defender, counsel for Darian Benevento, that the

20   hearing currently scheduled for November 17, 2020 at 1:30 p.m. be vacated and continued to

21   January 19, 2021 at 1:00 p.m. or any other date and time convenient to the Court.

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 1           The Stipulation is entered into for the following reasons:

 2           1.      A hearing for the revocation for supervise release is currently scheduled for

 3   November 17, 2020 at 1:30 p.m.

 4           2.      The parties believe that the hearing can be further delayed without serious harm

 5   to the interests of justice.

 6           3.      The defendant is not incarcerated.

 7           4.      The parties agree to the continuance.

 8           This is the first stipulation to continue filed herein.

 9           DATED this 6th day of November 2020.

10           NICHOLAS A. TRUTANICH                                 RENE L. VALLADARES
             United States Attorney                                Federal Public Defender
11
             By_/s/ Supriya Prasad_____                            By_/s/ Rebecca Levy___
12           SUPRIYA PRASAD                                        REBECCA LEVY
             Assistant United States Attorney                      Assistant Federal Public Defender
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 1                               UNITED STATES DISTRICT COURT
                                      DISTRICT OF NEVADA
 2

 3
     UNITED STATES OF AMERICA,                          Case No. 2:07-cr-00136-RCJ-PAL
 4
                    Plaintiff,                          ORDER
 5
                    v.
 6
     DARIAN BENEVENTO,
 7
                    Defendant.
 8

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10          IT IS ORDERED that the revocation of supervised release hearing currently scheduled for
                                                                    Tuesday, 1/19/2021 at 1:00 p.m.
11   November 17, 2020 at 1:30 p.m. be vacated and continued to __________________ at the hour of
     via Zoom Video Conference before Judge Robert C. Jones.
12   _____________ ___.m.

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                   Dated this 9th day of November 2020.
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15                                                         _______________________________________
                                                             UNITED STATES DISTRICT JUDGE
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